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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

                           CIVIL ACTION NO. 3:21-CV-38-DJH-chl

                                   ELECTRONICALLY FILED

 COUNTRY MUTUAL INSURANCE COMPANY                                                PETITIONER

 v.

 SMITHFIELD GREEN CONDOMINIUM COUNCIL, INC.                                     RESPONDENT


       AGREED ORDER GRANTING AMENDED MOTION FOR DECLARATORY
                  JUDGMENT AND APPOINTING UMPIRE

                                          * * * * *
        Whereas, the Petitioner, Country Mutual Insurance Company (“Country Mutual”), through

 counsel, filed its Petition for Declaratory Judgment to A) Appoint Umpire and B) Instruct

 Appraisal Panel on January 20, 2021 (the “Petition”); and

        Whereas, Respondent, Smithfield Green Condominium Council, Inc. (“Smithfield” and

 together with Country Mutual, the “parties”) filed its Response to Petition for Declaratory

 Judgment to A) Appoint Umpire and B) Instruct Appraisal Panel on February 23, 2021

 (“Response”); and

        Whereas, the parties are in agreement that the appointment of an umpire is required under

 the terms of the Policy, but the parties’ appraisers being unable to agree upon the identity of same;

 and

        Whereas, the parties’ appraisers (Doug Shively and Chuck Howarth) conferred and have

 come to an agreement concerning the appointment of John Voelpel, Voelpel Claims Services,

 Orlando, FL, whose identity and qualifications were set forth in part in the Response; and

        Whereas, John Voelpel has indicated that he is willing to accept the appointment;
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        This Court, having reviewed the matter and being otherwise sufficiently advised, decrees

 that by agreement of the parties, IT IS HEREBY ORDERED AS FOLLOWS:

        1.      The Parties stipulate to the selection of John Voelpel as the umpire in the instant

 dispute and that he is qualified, impartial, and competent.

        2.      Mr. Voelpel is appointed to serve as the umpire with regard to the appraisal(s)

 identified in the pleadings filed in this matter, per the terms of the Policy.

        3.      The Petitioner shall send to Mr. Warren a copy of this Order as soon as practicable.

 Mr. Voelpel shall use his best judgment and efforts, and conduct himself in such a manner as to

 be a fair, neutral and detached umpire.

        4.      The appraisal panel, including the umpire, per the terms of the Policy and Kentucky

 law, is authorized to make determinations as to the cause of loss (i.e., wind, hail, fire) and the

 amount of loss. With respect to the amount of loss, the appraisal panel shall make the following

 separate determinations:

                a.     The amount of loss, as measured by the cost to repair or replace the damaged
                property with that of comparable material and quality, used for the same purpose;
                and

                b.      The amount of loss, as measured by the cost to repair or replace the damaged
                property with that of comparable material and quality, used for the same purpose,
                to obtain an overall reasonably uniform appearance.

        5.      The right of Country Mutual to deny the claim, as set forth in the Policy and

 applicable law, is expressly preserved.

        6.      The appraisers shall use their best efforts to follow the procedures set forth by Mr.

 Voelpel in order to complete the appraisal process in a timely manner.

        7.      Mr. Voelpel’s fees shall be those normally and customarily charged by him for

 work of like kind; the parties shall bear those costs equally, as provided for within the Policy.




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          8.       Any determination by the panel is without prejudice to any rights that either party

 may have under applicable law.

          9.       The Court having fully and finally adjudicated all issues as set forth in the Petition

 for Declaratory Judgment to A) Appoint Umpire and B) Instruct Appraisal Panel by entry of this

 order, decrees that this matter is stricken from the active docket.

          10.      There being no just cause for delay, this is a FINAL ORDER without prejudice to

 either party making such subsequent filings or bringing such suits as may be necessary to enforce

 the terms of this Order, the parties’ respective rights under the subject insurance policy, or

 applicable law.

          11.      All costs shall be taxed to the Petitioner. Neither party shall seek or be awarded

 any additional costs or attorney’s fees.



 Entered: __________________                      __________________________________________


 Respectfully and jointly tendered:

  /s/ Matthew D. Ellison                                 /s/Clinton H. Scott
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  COMPANY


 Copies to: Counsel of record, via CM/ECF service
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